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 1                                                                  JUDGE MARSHA J. PECHMAN
 2

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 4

 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                      )       NO. CR 05-202 MJP
                                                    )
 9                 Plaintiff,                       )       ORDER GRANTING
                                                    )       STIPULATED MOTION TO CONTINUE
10                 vs.                              )       TRIAL DATE AND EXTEND TIME FOR
                                                    )       PRETRIAL MOTIONS
11   GARRETT CECIL THURMAN, and                     )
     MARK ABRAHAM BENSADON,                         )
12                                                  )
                   Defendants.                      )
13                                                  )
                                                    )
14

15
            The Court, having reviewed the stipulation of the parties, and the defendants agreement
16
     to extend the time for trial, finds as to the facts stipulated to by counsel in that document, and
17
     hereby makes the following findings of fact:
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            1.     The Court finds that a failure to grant the continuances would deny counsel the
19
     reasonable time necessary for effective preparation, taking into account the exercise of due
20
     diligence, within the meaning of 18 U.S.C. § 3161(h)(8)(B)(ii).
21
            2.     The Court further finds that the ends of justice will be served by ordering the
22
     continuances in this case and that the continuances are necessary to insure effective trial
23
     preparation and that these factors outweigh the best interests of the public in a more speedy trial,
24
     within the meaning of 18 U.S.C. § 3161(h)(8)(A).
25
            IT IS THEREFORE ORDERED that the trial date be continued from July 25, 2005, to
26

     (PROPOSED) ORDER GRANTING STIPULATED MOTION                              FEDERAL PUBLIC DEFENDER
                                                                                     1601 Fifth Avenue, Suite 700
     TO CONTINUE TRIAL & EXTEND PTM’s DUE DATE
                                                                                      Seattle, Washington 98101
     (Garrett Thurman; #05-202P)                        1                                         (206) 553-1100
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 1   October 17, 2005.
 2         IT IS FURTHER ORDERED that the due date for pretrial motions be extended from June
 3   30, 2005, to September 26, 2005.
 4         IT IS FURTHER ORDERED that the period of time from the current trial date of July 25,
 5   2005, up to and including the new proposed trial date of October 17, 2005, shall be excludable
 6   time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161, et seq.
 7         DONE this 15th day of July, 2005.
 8

 9
                                        /s/Marsha J. Pechman
10                                      HON. MARSHA J. PECHMAN
                                        UNITED STATES DISTRICT JUDGE
11

12   Presented by:
13
   s/ Jennifer E. Wellman
14 WSBA # 29193
   Attorney for Garrett Cecil Thurman
15 Federal Public Defender’s Office
   1601 Fifth Avenue, Suite 700
16 Seattle, WA 98101
   Phone: (206) 553-1100
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   jennifer_wellman@fd.org
18
     s/ Jeffrey Healy Smith
19   Attorney for Co-Defendant Mark A. Bensadon
     Telephonic Approval
20

21 s/ Karyn S. Johnson
   Assistant United States Attorney
22 Telephonic Approval

23

24

25

26

     (PROPOSED) ORDER GRANTING STIPULATED MOTION                          FEDERAL PUBLIC DEFENDER
                                                                                1601 Fifth Avenue, Suite 700
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